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12                                   UNITED STATES DISTRICT COURT

13                                 NORTHERN DISTRICT OF CALIFORNIA

14                                           OAKLAND DIVISION

15
     UNITED STATES OF AMERICA,                        ) NO. CR-19-00489 JST
16                                                    )
             Plaintiff,                               ) REPONSE TO DEFENDANT’S MOTION TO
17                                                    ) EXPEDITE SENTENCING
        v.                                            )
18                                                    )
     OLEG TINKOV                                      )
19     A/K/A/ OLEG TINKOFF,                           )
                                                      )
20           Defendant.                               )
                                                      )
21

22           The United States Attorney’s Office for the Northern District of California, by and through
23 Assistant United States Attorney Michelle J. Kane, and the United States Department of Justice, Tax

24 Division, by and through Assistant Chief Yael T. Epstein, hereby files its response to Defendant’s

25 Motion to Expedite Sentencing (the “Motion”). In light of the medical reports defendant attached to his

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     RESPONSE TO MOTION TO EXPEDITE SENTENCING                                                 v. 05/14/2020
     CR-19-00489 JST
              Case 4:19-cr-00489-JST Document 21 Filed 09/24/21 Page 2 of 2




 1 Motion, and those he previously provided to the government and a court in the United Kingdom, the

 2 government is prepared to proceed with sentencing at any time the Court deems appropriate.

 3

 4                                                           STEPHANIE M. HINDS
                                                             Acting United States Attorney
 5

 6 Dated: 9/24/2021                                          s/ Yael T. Epstein
                                                             YAEL T. EPSTEIN
 7                                                           Assistant Chief
                                                             U.S. Department of Justice, Tax Division
 8

 9                                                           s/ Michelle J. Kane
     Dated: 9/24/2021                                        MICHELLE J. KANE
10                                                           Assistant United States Attorney

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     RESPONSE TO MOTION TO EXPEDITE SENTENCING
     CR-19-00489 JST
